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18
                           UNITED STATES DISTRICT COURT
19
                         CENTRAL DISTRICT OF CALIFORNIA
20
      VERNON UNSWORTH,                          Case No. 2:18-cv-08048
21
                  Plaintiff,                    Judge: Hon. Stephen V. Wilson
22
23          vs.                                 JOINT STIPULATION TO REQUEST
                                                RESCHEDULING OF TRIAL DATE
24                                              [Filed concurrently with the Declaration
      ELON MUSK,
25                                              of Alex B. Spiro, the Declaration of
                  Defendant.                    Michael T. Lifrak, and [Proposed] Order]
26
27                                              Complaint Filed: September 17, 2018
                                                Trial Date: October 22, 2019
28                                              Requested Trial Date: December 2, 2019

                           JOINT STIPULATION TO RESCHEDULE TRIAL DATE
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  1        Defendant Elon Musk and Plaintiff Vernon Unsworth (collectively, the
  2 “Parties”) by and through their counsel of record, hereby stipulate pursuant to
  3 Central District of California Local Rules (“L.R.”) 7-1 and 40-1 to request that the
  4 Court reschedule the trial date as follows:
  5        1.    WHEREAS, lead trial counsel for Mr. Musk from the firm of Quinn
  6 Emanuel Urquhart & Sullivan, LLP (Quinn Emanuel) appeared in this case for the
  7 first time on May 8, 2019.
  8        2.    WHEREAS, on May 14, 2019, the Court entered a Civil Trial
  9 Preparation Order, (DKT #46), setting a trial date in this matter for October 22, 2019.
10         3.    WHEREAS, as described in the accompanying declarations, Mr.
11 Musk’s trial counsel from Quinn Emanuel have other trials set for the week of
12 October 22, 2019, including a criminal trial in the Southern District of New York.
13         4.    WHEREAS, counsel for Mr. Unsworth have extended the professional
14 courtesy of stipulating to this request.
15         5.    WHEREAS, this is the first request by the Parties to continue the trial
16 date.
17         6.    WHEREAS, the parties have agreed to request a new trial date of
18 December 2, 2019, and are committed to having this date be a firm trial date.
19         7.    WHEREAS, the Parties have submitted herewith a proposed Order for
20 the Court’s consideration to effectuate the agreed-upon requested change in trial
21 date.
22         8.    WHEREAS, the Parties agree to submit a discovery plan and Joint Rule
23 26(F) Report and also exchange initial disclosures within seven days of entry of this
24 Order.
25         THEREFORE, the parties request that the trial date be rescheduled from
26 October 22, 2019 to December 2, 2019.
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                          JOINT STIPULATION TO RESCHEDULE TRIAL DATE
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      Dated: June 5, 2019                Respectfully submitted,
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                        JOINT STIPULATION TO RESCHEDULE TRIAL DATE
Case 2:18-cv-08048-SVW-JC Document 51 Filed 06/05/19 Page 4 of 4 Page ID #:335



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